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               IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MASSACHUSETTS

VICTOR ROSARIO,                       )
                                      )      Case No.
         Plaintiff,                   )
                                      )
         v.                           )
                                      )
Lowell Police Officers HAROLD G.      )
WATERHOUSE, JOHN GIUILFOYLE,          )
GARRETT SHEEHAN, JOHN R.              )
NEWELL, GEORGE H. GENTLE,             )
JOSEPH M. McGARRY, LARRY B.           )
McGLASSON, WILFRED DOW, JOHN          )
R. MYERS, and UNKNOWN                 )
OFFICERS OF THE LOWELL POLICE         )
DEPARTMENT; WILLIAM M.                )
GILLIGAN and UNKNOWN                  )
MEMBERS OF THE LOWELL FIRE            )
DEPARTMENT; Massachusetts State       )
Police Officer DAVID A. COONAN, and   )
UNKNOWN OFFICERS OF THE               )
MASSACHUSETTS STATE POLICE,           )
and the CITY OF LOWELL, ,             )      JURY TRIAL DEMANDED

         Defendants.


                              COMPLAINT

     Plaintiff, VICTOR ROSARIO, by his attorneys LOEVY & LOEVY, complains

of Lowell Police Officers HAROLD G. WATERHOUSE, JOHN GIUILFOYLE,

GARRETT SHEEHAN, JOHN R. NEWELL, GEORGE H. GENTLE, JOSEPH M.

McGARRY, LARRY B. McGLASSON, WILFRED DOW, JOHN R. MYERS, and

UNKNOWN OFFICERS OF THE LOWELL POLICE DEPARTMENT; WILLIAM

M. GILLIGAN and UNKNOWN MEMBERS OF THE LOWELL FIRE

DEPARTMENT; Massachusetts State Police Officer DAVID A. COONAN,
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UNKNOWN OFFICERS OF THE MASSACHUSETTS STATE POLICE, and the

CITY OF LOWELL, Massachusetts, as follows:

                                  INTRODUCTION

      1.      Plaintiff Victor Rosario was wrongly accused and convicted of arson

and the murders of eight people who died in the fire attributed to the arson. The fire

occurred on Decatur Street in Lowell, Massachusetts in March 1982.

      2.      Plaintiff did not commit the crime.

      3.      There was no legitimate evidence connecting Plaintiff to the fire. In

fact, all of the evidence suggested that he had come upon the fire after it had

started and had unsuccessfully tried to save the people inside the home.

      4.      There was also no reliable evidence that the fire was even caused by

arson. To the contrary, all signs pointed to the fire being accidental.

      5.      Nonetheless, Defendants fabricated evidence in order to quickly “solve”

a high-profile tragedy. In particular, they fabricated a false narrative that Plaintiff

and two brothers, Felix and Gardo Garcia, each threw a burning Molotov cocktail

into the building. The Defendants did so despite the fact that no physical evidence

supported their theory. Among other things, there was no evidence of the use of an

incendiary device or of fire accelerant present at the scene. It was well known at the

time, including by Defendants, that the use of a Molotov cocktail would leave tell-

tale evidence at the scene of a fire, but none was found at the scene of this fire.

      6.      To support their false story, Defendants coerced and fabricated a

purported “confession” from Plaintiff. Statements attributed to Plaintiff were



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coerced by Defendants, who used well-known illegal tactics during their

interrogation of Plaintiff such as outright lies, coercion, threats, mistreatment, and

sleep deprivation. Finally Plaintiff was given a statement written in English, which

he could not read and the contents of which were not told to him, and forced to sign

it with false promises that only if he signed it could he go home. Moreover, it was

obvious to Defendants at the time of the “confession” that Plaintiff was in an

extremely deteriorated mental state—which the Defendants unlawfully exploited to

close the case.

      7.       In order to ensure that Plaintiff would be charged and prosecuted,

Defendants also fabricated an eyewitness identification to fit their theory of the fire.

      8.       Based on the force of the fabricated evidence and Plaintiff’s false

confession, Plaintiff was charged, prosecuted, and wrongly convicted of arson and

multiple murders. He was sentenced to eight concurrent life sentences. Plaintiff was

condemned to die in prison for something he had not done.

      9.       On September 8, 2017, after Plaintiff had spent more than three

decades behind bars, the Commonwealth of Massachusetts dropped all charges

against him.

      10.      Plaintiff now seeks justice for the harm that Defendants caused and

redress for the loss of liberty and the terrible hardship that Plaintiff has endured

and continues to suffer as a result of Defendants’ misconduct.

                            JURISDICTION AND VENUE

      11.      This action is brought under 42 U.S.C. § 1983 and Massachusetts law



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to redress Defendants’ tortious conduct and their deprivation of Plaintiff’s rights

secured by the U.S. Constitution.

       12.    This Court has jurisdiction of Plaintiff’s federal claims under 28 U.S.C.

§ 1331 and supplemental jurisdiction of his state-law claims under 28 U.S.C. § 1367.

       13.    Venue is proper under 28 U.S.C. § 1391(b). Plaintiff resides in this

judicial district and the events and omissions giving rise to Plaintiff’s claims

occurred within this judicial district. Moreover, on information and belief], many of

the Defendants reside in Massachusetts and are subject to the personal jurisdiction

of the courts in this judicial district.

                                           PARTIES

       14.    Plaintiff Victor Rosario is a man who spent 32 years in prison for

crimes he did not commit.

       15.    Defendants Harold G. Waterhouse, John Giuilfoyle, Garrett Sheehan,

John Newell, George G.H. Gentle, Joseph Mcgarry, Larry B. Mcglasson, Wilfred

Dow, John R. Myers, and Unknown Officers of the Lowell Police Department are

current or former officers of the Lowell Police Department. These Defendants were

responsible for investigating crimes, including the crime at issue in this case, and

for supervising other police officer Defendants. They committed, facilitated, and

approved the constitutional violations at issue in this case.

       16.    Defendant William M. Gilligan is a current or former member of the

Lowell Fire Department. He was responsible for investigating fire-related crimes,

including the crime at issue in this case, and for supervising other police and/or fire



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officer Defendants. Defendant Gilligan committed, facilitated, and approved the

constitutional violations at issue in this case.

      17.    Defendant City of Lowell, Massachusetts, is a municipality of the State

of Massachusetts, which oversees the Lowell Police Department and the Lowell Fire

Department. Each of the Defendants referenced above was employed by the City of

Lowell or was acting as an agent of the City of Lowell, the Lowell Police

Department, and/or the Lowell Fire Department while conducting the investigation

described in this Complaint. Defendant City of Lowell is therefore liable for all torts

committed by these Defendants pursuant to the doctrine of respondeat superior.

Defendant City of Lowell is additionally responsible for the policies and practices of

the Lowell Police Department and Lowell Fire Department that were implemented

by Defendants in this case. Finally, Defendant City of Lowell is responsible under

Massachusetts law for any judgment entered against Defendants.

      18.    Defendants David A. Coonan and Unknown Officers of the

Massachusetts State Police are current or former officers of the Massachusetts

State Police. These Defendants were responsible for investigating crimes, including

the crime at issue in this case, and for supervising other police officer Defendants.

These Defendants committed, facilitated, and approved the constitutional violations

at issue in this case. At all times relevant to the events described in this Complaint,

each of the Defendants acted under color of law, within the scope of his

employment, and as an investigator. Each of the Defendants is sued in his

individual capacity, unless otherwise noted.



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                                        FACTS

                       The Fire and Deaths of Eight People

       19.    At approximately 1:00 a.m. on March 5, 1982, a fire occurred at 32-36

Decatur Street, Lowell, Massachusetts.

       20.    Eight people died in the fire.

       21.    The Lowell Police and Fire Departments responded to the scene of the

fire, investigated the scene, gathered evidence, and spoke to neighbors.

                   Plaintiff Had Nothing to Do With Starting
                 the Fire and Instead Tried to Save the Victims

       22.    Plaintiff had absolutely nothing to do with starting the fire. Instead,

that evening, Plaintiff was out with friends, Felix and Edgardo Garcia.

       23.    On his way home, Plaintiff and the Garcias passed by 32-36 Decatur

Street and saw that the house was on fire.

       24.    Hearing the screams of people trapped inside the burning building,

Plaintiff broke a window and tried to go into the building to rescue the families. But

the fire was already too hot, and he was injured trying to get into the building.

       25.    After trying to help the victims, Plaintiff voluntarily introduced

himself to police and medical professionals on the morning of the fire. He was

treated for cuts to his hand and arms that were caused by breaking the window to

pull people out of the fire.

       26.    Rather than investigate the fire, however, the Defendants short-

circuited the process and myopically focused on Plaintiff in an effort to solve what

they said was a crime.


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   The Physical Evidence Never Supported the Theory that the Fire Was
                         Started by Arson Fire

      27.    To this day, there is no evidence that a fire was deliberately set and, if

there were such evidence, who the culprit might be because Defendants fabricated

evidence against an innocent man.

      28.    Instead, all of the evidence at the crime scene was consistent with an

accidental fire. For example, the burn patterns were entirely consistent with a fire

that started without the use of an accelerant.

      29.    In fact, there was no physical evidence at all of an accelerant being the

source of the fire. The state crime lab tested the building material at the source of

the fire and expressly told Defendants that it found no accelerant. The FBI tested

the glass fragments found at the scene of the fire and found no evidence of

materials that could have been used for Molotov cocktails. The can of liquid found at

the scene was vegetable oil

      30.    In addition, Defendants were made aware of other identified possible

accidental sources of the fire, which they investigated and failed to document the

exculpatory findings and/or documented those findings but did not disclose them to

the prosecution or defense.

 There Was Never Any Evidence Supporting that the Fire was Caused by
          Arson, Specifically, Arson Using a Molotov Cocktail

      31.    There was absolutely no evidence at the scene that the fire had been

started intentionally.




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       32.    To get around this obvious problem, the Defendants manufactured

false evidence about the use or presence of Molotov cocktails or other incendiary

devices, the presence of a fuel accelerant, and/or multiple points of origin of the fire.

This fabricated evidence was inconsistent with the crime scene and all legitimate

conclusions that could be drawn from it.

       33.    For example, if a Molotov cocktail had been used, fire science

demonstrated even at the time of the investigation that some traces of it would be

available for evidence.

       34.    Yet, there was no glass found at the scene from such a device, no

wicks, no ignitable liquid residue, and all tests for accelerants came back negative.

       35.    Similarly, the Defendants fabricated findings—known at the time to be

false—that there were multiple places where the fire started because there was no

connection between the “points of origin.”

       36.    Furthermore, fire science has shown that it is physically impossible for

Molotov cocktails to have started a fire of the magnitude of the fire at issue.

       37.    But the scientific evidence demonstrated the exact opposite; that the

fire progression and damage were normal and consistent with an accidental (non-

accelerated fire).

       38.    Finally, Defendants intentionally failed to document the results of any

investigation related to possible accidental sources of the fire such as the presence

of a space heater (a common source of accidental fires at the time) or that a woman

who died in the fire used multiple devotional candles and had been recently



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drinking a lot of alcohol. Instead, this evidence was buried from the prosecution and

defense so that the Defendants’ fabrications could not be properly challenged.

                        Defendants Arrested Plaintiff for the
                  Unproven Arson and the Deaths Caused by the Fire

       39.     Defendants focused on Plaintiff as the culprit of the nonexistent crime

because he gave his name to the local newspaper reporter who described how the

Plaintiff had hurt himself while trying to enter the building and help the victims of

the fire, . In short, Plaintiff was an easy target.

       40.     The fire was a high-profile incident, and Defendants were under

pressure to quickly arrest a suspect.

       41.     In the morning of March 6, 1982, Defendant Waterhouse became

aware of Plaintiff because he had been treated by the Red Cross for his wounds.

       42.     Shortly afterward, Defendants decided to focus on Plaintiff as the

“culprit” despite the lack of any physical or other evidence tying him to the “crime.”

       43.     In fact, during the afternoon or evening of March 6, Defendants met in

a Zayre’s store parking lot to develop a strategy about how they would manufacture

evidence against Plaintiff.

       44.     That same afternoon, on March 6, 1982, Defendants went to Plaintiff’s

house, and took Plaintiff to the Lowell Police Department to interrogate him.

             Defendants Fabricated a False Confession from Plaintiff

       45.     From the evening of March 6 through the early morning of March 7,

1982, Defendants, held Plaintiff alone in custody and wrote a fabricated,

incriminating statement in English that they forced Plaintiff to sign even though


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Plaintiff did not read, write, or understand English and nobody explained the

statement to him in his native language.

      46.       Multiple officers participated in the interrogation, and they used

Ramon A. Nieves as a translator even though Mr. Nieves was not trained to provide

language translation.

      47.       The officers obtained this involuntary statement using outright lies,

coercion, threats, mistreatment, sleep deprivation, exploiting a known and obvious

mental health breakdown, and manipulation of a language barrier.

      48.       At the time that Defendants fabricated evidence against Plaintiff, he

was in the midst of a mental breakdown and was particularly susceptible to

intimidation and threats. His fragile condition was obvious to Defendants.

      49.       Defendants took no steps to interrupt or adapt their questioning of

Plaintiff in response to his obvious incoherence and total lack of understanding of

his situation

      50.       Instead, they did the opposite: they acted in concert to exploit

Plaintiff’s vulnerabilities to secure a confession, regardless of whether it was true or

false, knowing that there was obvious evidence to suggest that Plaintiff was not

responsible for the arson and murders including his repeated denials of any

involvement in the fire.

      51.       In particular, before Defendants took Plaintiff into custody, Plaintiff

was traumatized by seeing the fire— and hearing the screams of children dying in

the fire. The extreme suffering caused Plaintiff intense psychological distress. At



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the time of his interrogation, Plaintiff was crying hysterically and his eyes and face

were red from crying and anxiety. Plaintiff was reliving the trauma of the fire—

hearing voices, and smelling the smoke.

      52.    In addition to the trauma of the fire, Plaintiff was suffering from

Delirium Tremens as a result of alcohol withdrawal. Plaintiff had been a heavy

drinker since childhood but had stopped suddenly the night of the fire. The effects of

this cessation of the intake of alcohol, in addition to Plaintiff’s vulnerable mental

state, were readily apparent and obvious to Defendants.

      53.    During the interrogation, Plaintiff began to hear demons saying to

him, “death, death,” and was hearing voices generally, and saying, “I am Victor

Rosario, the Son of God. Jesus Christ is in me.” He also said that, “the devil” was in

him. Indeed, Plaintiff’s unstable mental condition was obvious to Defendants

throughout the entirety of their interactions with him.

      54.    Nonetheless, for at least six continuous hours Defendants interrogated

Plaintiff, depriving him of sleep during the night of March 6 and morning of March

7, 1982. For hours, Defendants held Plaintiff inside an interrogation room.

      55.    Defendants’ questioning was aggressive and they threatened Plaintiff

on multiple occasions throughout the night, including, but not limited to, falsely

telling him inter alia that his two friends had already implicated him and that he

would be sentenced to death if he did not confess.

      56.    As Defendants preyed on Plaintiff’s weakened mental condition during

the lengthy interrogation in the early hours of the morning, Plaintiff began yelling



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and screaming, knelt down, grabbed the chair, cried and screamed, “no,” “Oh God,

Oh God,” and “please stop.” He also was hallucinating and saying, “Get it off me,” as

he appeared to rub insects off his arm, a classic symptom of delirium tremens

known to the Defendants.

      57.     Plaintiff was obviously delusional during the interrogation and showed

no signs of comprehension.

      58.     Rather than stop the interrogation, Defendants continued to coerce

Plaintiff to incriminate himself by preying on his mental condition.

      59.      The Defendants also failed to give Plaintiff any effective Miranda

warnings. Further ensuring that Plaintiff’s constitutional rights were violated, the

Defendants engaged in coercive, deceptive, and diversionary tactics that would have

deprived Miranda warnings of any force, even if effective warnings had been given.

At no point did Plaintiff knowingly or voluntarily waive his right to remain silent or

his right to have counsel present at the interrogation.

      60.     At no point did the Defendants heed Plaintiff’s repeated denials of

involvement in the fire and stop their physically and mentally abusive questioning.

Defendants’ uninterrupted accusations and questioning continued as if Plaintiff had

said nothing at all.

      61.     Defendants also made false promises to Plaintiff to induce him to sign

the statements, saying that he would be allowed to leave if he signed them. It was

clear that Plaintiff was incapable of understanding either of the statements he

signed.



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      62.    After hours of early morning interrogation, Defendants’ abuse finally

broke Plaintiff down. Plaintiff suffered a complete physical and mental collapse and,

in order to stop Defendants’ relentless assaults, he signed two false, incriminating

statements that were fabricated by Defendants.

      63.    Defendants wrote both statements in English. The statements falsely

implicated Felix and Gardo Garcia, in addition to Plaintiff as co-conspirators to

make and use Molotov cocktails to burn the building.

      64.    Plaintiff did not speak English fluently and did not understand written

English in 1982. Moreover, the statements were never read to Plaintiff in English or

in Spanish before Defendants forced Plaintiff to sign them.

      65.    It was obvious to Defendants that Plaintiff did not understand written

or spoken English—they had used Spanish-English translators when they spoke to

Plaintiff earlier at his home and during the interrogation.

      66.    The statements contained admissions written by Defendants and

falsely attributed as verbal statements by Plaintiff, though Plaintiff had never

made those statements to Defendants during the interrogation or at any other time.

      67.    Rather, Defendants provided all of the information contained in the

written statements.

      68.    Since the evidence supports that there was insufficient evidence of

arson generally and no proof of the use of Molotov cocktails specifically, Plaintiff’s

written statements (in English) admitting those nonexistent facts is simply based

on falsehoods. There was no reason for Plaintiff to voluntarily make the false



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statements attributed to him. They were fabricated by Defendants to comport with

the false statements and evidence The statements were used against Plaintiff

during the criminal case.

      69.     In committing the misconduct described above, the Defendants made

an agreement with each other and with others currently unknown to Plaintiff, to

individually, jointly, and/or in conspiracy secure a false and involuntary confession

from Plaintiff and to use that confession to initiate and perpetuate false criminal

charges against Plaintiff.

  Defendants Fabricated and Suppressed Additional Evidence About the
                  Circumstances of the Interrogation

      70.     In addition to fabricating false statements and attributing them to

Plaintiff, Defendants fabricated other evidence to bolster the forced confession for

use in the criminal case.

      71.     Defendants lied and wrote false reports about the circumstances of

their interrogation of Plaintiff and about how they obtained the written statements

that they attributed to him.

      72.     Similarly, Defendants wrote false reports stating that Plaintiff

verbally confessed to the crime and described his involvement in it. But the

statements they reported were never said by Plaintiff. Likewise, the Defendants

destroyed the contemporaneous notes they took of Plaintiff’s interrogation, which

also would have showed that Plaintiff never made any of the statements attributed

to him.




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      73.    Moreover, Defendants’ false reports included lies about the manner in

which they had questioned Plaintiff in order to make the statements appear

voluntary and true, when in fact Plaintiff had been forced to sign the false

statements that he did not understand.

      74.    Defendants also created and induced false statements from Ramon

Nieves, which falsely depicted the circumstances of Plaintiff’s interrogation

      75.    Defendants also fabricated evidence in the form of a photograph, which

they falsely reported that Plaintiff had identified as the window through which

Felix Garcia threw a Molotov cocktail. This was a complete lie.

      76.    Moreover, Defendants drafted police reports that included false

statements about the Molotov cocktail that they attributed to Plaintiff.

      77.    On March 8, 1982, the day after Defendants secured the false

statements from Plaintiff, they attempted to have Plaintiff demonstrate his actions

in setting the fire. Plaintiff could not do so because he was totally innocent and he

made clear that his confession was totally fabricated. Unwilling to undermine their

fabricated confession, Defendants did not document what happened or suppressed

the documentation.

      78.    Defendants acted under the policy and practice of the City of Lowell,

which contracted and/or otherwise entered into an agreement with property

insurers for the City of Lowell to provide evidence of arson in exchange for material

support, including financing to the City of Lowell from insurers. This created a

financial incentive for Defendants to make findings of arson.



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         79.    The exculpatory evidence of this policy and practice was not disclosed

to Plaintiff.

         Defendants Fabricated the Existence of False Physical Evidence

         80.    Defendants’ also made false reports about physical evidence allegedly

obtained during search warrants, which falsely suggested a tie between physical

evidence at Plaintiff’s residence and physical evidence from the crime scene.

         81.    Along with Plaintiff’s landlord, Defendants went to the apartment

building where Plaintiff lived.

         82.    In the basement of the apartment building were a gas can and cans of

paint.

         83.    Plaintiff’s landlord, Joseph Simao, told police that the gasoline can was

his for use in a space heater to keep pipes from freezing and that Mr. Simao had

been using the paint as part of a drywall project.

         84.    Defendants falsely attributed the gas can and paint cans as being used

by Plaintiff to start the fire.

         85.    To bolster their fabricated theory about the use of Molotov cocktails,

Defendants staged the basement to look like there were Miller beer bottles with the

gas can and paint can (tipped over) and took photographs of that staged scene. In

fact, when Simao took police to the basement, he did not see a beer bottle near his

gas can and paint, nor did Simao see the scene that was photographed to make it

look like it could have been used to make Molotov cocktails.




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        86.   Defendants suppressed from the prosecution and defense the

information they learned from Simao, the fact that the photographs had been

staged, and the circumstances of the search.

        87.   Defendants bolstered the staged physical evidence by drafting a false

affidavit two days after Plaintiff’s interrogation. In that affidavit, Defendants

included a false statement that Plaintiff had said during the interrogation that he

had seen a bottle of Red Devil paint thinner at the apartment of Felix before and

after the fire and that it may have been used to make the Molotov cocktails.

Defendants knew that the sworn affidavit saying that Plaintiff had mentioned the

Red Devil paint thinner during the interrogation was a total fabrication.

        88.   Defendants fabricated that detail to support their fictional story.

                   Defendants Fabricated Eyewitness Evidence

        89.   Defendants also manufactured eyewitness evidence to implicate

Plaintiff in setting the fire.

        90.   The false evidence included a fabricated eyewitness identification.

        91.   In particular, on March 6, 1982, Defendants interviewed Edward

Evans, who lived across the street from the fire.

        92.   They showed Mr. Evans a photo array that included Plaintiff’s

photograph. Mr. Evans did not identify Plaintiff as being present the night of the

fire.

        93.   Moreover, Mr. Evans provided a physical description of someone that

he allegedly saw, at about 1:00 a.m. (after the fire was reported and fire department



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personnel had already responded), throwing something into the house. That

description did not match Plaintiff.

       94.      Nonetheless, on March 13, 1982 (despite having initially not identified

Plaintiff’s photo and giving a description that did not match Plaintiff after many

interactions with Defendants), Defendants manipulated Mr. Evans into falsely

identifying Plaintiff as being present at the scene before the fire started.

Defendants then falsely reported that Evans had identified Plaintiff five days

earlier, on March 8, 1982, after seeing his picture in the newspaper.

       95.      Defendants did not document that the identification of Plaintiff was

fabricated.

       96.      Moreover, Defendants fabricated additional evidence they claimed

came from Mr. Evans. Defendants reported that Evans said he saw Plaintiff throw

an object through the window of the first floor apartment immediately before the

fire started.

       97.      Evans, however, did not identify that he saw any flame that would

have been visible from a lit Molotov cocktail in the dark or any flame or explosion

when it would have supposedly ignited. The lack of these details is evidence that his

statements were manipulated to give false (albeit incomplete) evidence of a

purported crime.

       98.      Defendants further fabricated a witness statement from Elisa

Quinones, who was present the night of the fire.




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      99.    On or about March 11, 1982, Defendants wrote a statement in English

and told Ms. Quinones to sign the statement.

      100.   Ms. Quinones did not read or speak English and nobody read or

translated the statement to her in her native language, Spanish.

      101.   There were numerous false statements attributed to Ms. Quinones in

her English, written statement, including that she saw Mr. Garcia with two other

Spanish guys standing in front of the burning building; that those men were

throwing small glass bottles, which looked like seven ounce beer bottles; that as

soon as they threw in the bottles, the flames got bigger; and that she saw Mr.

Garcia’s photograph in the newspaper along with the two other men that were with

him in the fire. None of this information was true; it was all fabricated by the

Defendants to try to shore up false evidence against Plaintiff.

      102.   The actual evidence in the case, including from witnesses at the scene,

excluded Plaintiff as a suspect. But the Defendants’ myopic focus on Plaintiff meant

that that evidence was ignored or buried.

             Defendants Suppress Evidence of Alternate Suspects

      103.   Defendants also suppressed exculpatory evidence related to

investigations of other persons who were possible suspects in the fire that

Defendants claimed was an arson.

      104.   For instance, multiple witnesses identified a man named Epifanio

Luna Santiago as being present at or near the scene of the fire. Indeed, Mr. Evans

described the person he saw before the fire as 5’5” or 5’6” which would matched



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Luna Santiago’s height but not Plaintiff’s, who was 5’2”.

      105.   Defendants interviewed Luna Santiago, who gave different and

inconsistent accounts of where he was before the fire. Police investigated those

inconsistencies, but failed to document that investigation.

      106.   Similarly, Defendants investigated other alternate suspects,

but buried the information they developed that would have pointed toward their

guilt—and not Plaintiff’s. That includes evidence that three to four people (two men

and one to two women) were seen walking with suitcases away from the scene of the

fire toward Merrimack Street as the fire raged; that a man who lived at 67 Salem

Street, Second Floor, Lowell, MA had threatened to kill one of the fire victims;

evidence that a woman had burned the building on Decatur Street over a drug deal

gone bad; and that other individuals, who had set fire to other buildings before

and/or had conflicts with the Decatur Street residents were involved.

              Plaintiff’s Wrongful Conviction and Imprisonment

      107.   In 1983, as a result of Defendants’ misconduct and the false evidence

they created, Plaintiff was charged, prosecuted, and tried by jury. Plaintiff

contested guilt at every stage of his arrest and prosecution including testifying on

his own behalf at trial.

      108.   During the trial, this false evidence was the only thing suggesting that

Plaintiff was guilty of arson.

      109.   Moreover, Plaintiff was unable to defend himself because he was

denied access to the exculpatory evidence described above.



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         110.   After a one-week trial, a jury convicted Plaintiff of arson and eight

counts of first-degree murder.

         111.   Plaintiff’s alleged co-conspirators, Felix and Gardo Garcia, were never

tried. According to Defendants, this was because there was no probable cause to

suspect either of them given the lack of any physical evidence tying them to the

scene.

         112.   In fact, there was never any physical evidence tying anyone to setting

the fire, and Defendants did not have probable cause to suspect Plaintiff’s alleged

co-conspirators because Defendants were not able to fabricate evidence implicating

them as they did with Plaintiff.

         113.   Without Defendants’ fabricated evidence, there was nothing to support

a criminal proceeding against Plaintiff.

         114.   Likewise, had Defendants disclosed the exculpatory evidence they

suppressed, Plaintiff never would have been arrested, let alone convicted.

                                   Plaintiff’s Damages

         115.   Plaintiff was in his mid-twenties, in the prime of his life, at the time

that he was wrongly convicted. He was arrested, prosecuted, and convicted for no

reason at all. He would spend the next three decades imprisoned for something he

had not done.

         116.   Plaintiff’s whole life was turned upside down without any warning. A

substantial portion of his adulthood has been consumed by the horror of his

wrongful imprisonment.



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       117.   Because of Defendants’ misconduct, Plaintiff has missed out on the

lives of his family and friends.

       118.   Plaintiff was also deprived of opportunities to engage in meaningful

labor, to develop a career, and to pursue his interests and passions. Plaintiff has

been deprived of all of the basic pleasures of human experience, which all free

people enjoy as a matter of right, including the freedom to live one’s life as an

autonomous human being.

       119.   During his decades of wrongful imprisonment, Plaintiff was detained

in harsh and dangerous conditions in maximum security prisons.

       120.   His unlawful arrest, prosecution, and imprisonment caused him to

suffer from extreme trauma and/or mental health problems, which continue to this

day.

       121.   In addition to the severe trauma of wrongful imprisonment and

Plaintiff’s loss of liberty, Defendants’ misconduct continues to cause Plaintiff

extreme physical and psychological pain and suffering, humiliation, constant fear,

anxiety, deep depression, despair, rage, and other physical and psychological effects.

                               Plaintiff’s Exoneration

       122.   Plaintiff never gave up on proving his innocence.

       123.   On May 11, 2017, the Supreme Judicial Court of Massachusetts upheld

the order granting Plaintiff a new trial. Commonwealth v. Rosario, 477 Mass. 69, 74

N.E.3d 599 (2017).




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       124.   On September 8, 2017, the Commonwealth of Massachusetts dropped

all charges against Plaintiff.

       125.   Plaintiff walked out of prison a free man after 32 years of wrongful

imprisonment.

                                       COUNT I
                            42 U.S.C. § 1983 – Due Process

       126.   Plaintiff incorporates each paragraph of this Complaint as if fully

restated here.

       127.   In the manner described more fully herein, Defendants, while acting as

investigators, individually, jointly, and in conspiracy with one another, as well as

under color of law and within the scope of their employment, deprived Plaintiff of

his constitutional right to a fair trial.

       128.   Defendants deliberately withheld exculpatory evidence from Plaintiff

and from state prosecutors, among others, thereby misleading and misdirecting the

criminal prosecution of Plaintiff.

       129.   Defendants fabricated and solicited false evidence, including testimony

that they knew to be false, implicating Plaintiff in the crime, obtained Plaintiff’s

conviction using that false evidence, and failed to correct fabricated evidence that

they knew to be false when it was used against Plaintiff at his criminal trial.

       130.   In addition, Defendants produced a series of false and fraudulent

reports and related documents, which they inserted into their file and presented to

state prosecutors and judges. These documents, which were used to show Plaintiff’s

purported connection to the crime, contained statements and described events that


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were fabricated and that Defendants knew to be false. Defendants signed these

reports, both as investigators and as supervisors, despite their knowledge that the

information contained in those reports was false.

        131.   Defendants also procured false eyewitnesses identifications of Plaintiff,

implicating him in the crime, and they used unduly suggestive identification

techniques to obtain those false identifications. Defendants used the resulting false

identifications to taint Plaintiff’s criminal trial.

        132.   In addition, Defendants concealed and fabricated additional evidence

that is not yet known to Plaintiff.

        133.   Defendants who were supervisors charged with overseeing the

investigation of the Decatur Street fire and the other Defendants knew full well of

this misconduct, the suppression of exculpatory evidence, and the fabrication of a

false case against Plaintiff. These supervisors nevertheless intentionally ignored

Defendants’ misconduct, and decided to make Plaintiff responsible for a crime he

did not commit, rather than directing the officers to go out and fully investigate the

fire.

        134.   Defendants’ misconduct directly resulted in the unjust criminal

conviction of Plaintiff, thereby denying his constitutional right to a fair trial

guaranteed by the Fourteenth Amendment. Absent this misconduct, the prosecution

of Plaintiff could not and would not have been pursued.

        135.   The misconduct described in this Count was objectively unreasonable

and was undertaken intentionally, with malice, with reckless indifference to the



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rights of others, and in total disregard of the truth and Plaintiff’s clear innocence.

      136.   As a result of Defendants’ misconduct described in this Count, Plaintiff

suffered loss of liberty, great mental anguish, humiliation, degradation, physical

and emotional pain and suffering, and other grievous and continuing injuries and

damages as set forth above.

      137.   Plaintiff’s injuries were caused by the official policies of Defendant City

of Lowell and the Lowell Police Department, by the practices and customs of

Defendant City of Lowell, the Lowell Police Department, and the Lowell Fire

Department as well as by the actions of final policymaking officials for Defendant

City of Lowell, the Lowell Police Department, and the Lowell Fire Department. For

example, the Lowell Police Department was found to tolerate constitutional

violations in 1983. See Foley v. City of Lowell, Mass., 948 F.2d 10 (1st Cir. 1991).

Moreover, the City of Lowell entered into agreements to provide its investigative

employees (including but not limited to Defendants here) with a financial incentive

to make findings of arson.

      138.   At all times relevant to the events described in this Complaint and for

a period of time prior thereto, Defendant City of Lowell promulgated rules,

regulations, policies, and procedures governing witness interviews, photo lineups,

live lineups, preservation and disclosure of investigative materials and evidence,

questioning of criminal suspects, in-court testimony, preparation and presentation

of witness testimony, fire/arson investigations, and training, supervision, and

discipline of employees and agents of the City of Lowell, including employees and



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agents of the Lowell Police Department and Fire Department.

      139.   These rules, regulations, policies, and procedures were implemented by

employees and agents of Defendant City of Lowell, including the Defendants, who

were responsible for conducting investigations of crimes in and around Lowell,

Massachusetts.

      140.   In addition, at all times relevant to the events described in this

Complaint and for a period of time prior thereto, Defendant City of Lowell had

notice of a widespread practice by its officers and agents under which individuals

suspected of criminal activity, such as Plaintiff, were routinely deprived of

exculpatory evidence, were subjected to criminal proceedings based on false

evidence, and were deprived of their liberty without probable cause, such that

individuals were routinely implicated in crimes to which they had no connection

and for which there was scant evidence to suggest that they were involved.

      141.   These widespread practices were allowed to flourish because the

leaders, supervisors, and policymakers of Defendant City of Lowell directly

encouraged and were thereby the moving force behind the very type of misconduct

at issue by failing to adequately train, supervise, and discipline their officers,

agents, and employees who withheld material evidence, fabricated false evidence

and witness testimony, and pursued wrongful prosecutions and convictions.

      142.   The above-described widespread practices, which were so well settled

as to constitute the de facto policy of the City of Lowell, were allowed to exist

because municipal policymakers with authority over the same exhibited deliberate



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indifference to the problem, thereby effectively ratifying it.

      143.   The misconduct described in this Count was undertaken pursuant to

the policy and practices of Defendant City of Lowell in that the constitutional

violations committed against Plaintiff were committed with the knowledge or

approval of persons with final policymaking authority for the City of Lowell and the

Lowell Police Department, or were actually committed by persons with such final

policymaking authority.

      144.   The policies, practices, and customs set forth above were the moving

force behind the numerous constitutional violations in this case and directly and

proximately caused Plaintiff to suffer the grievous and permanent injuries and

damages set forth above.

      145.   Plaintiff’s injuries were caused by officers, agents, and employees of

the City of Lowell, the Lowell Police Department, and the Lowell Fire Department

including but not limited to the individually named Defendants, who acted

pursuant to the policies, practices, and customs set forth above in engaging in the

misconduct described in this Count.

                                     COUNT II
                 42 U.S.C. § 1983 – Federal Malicious Prosecution

      146.   Plaintiff incorporates each paragraph of this Complaint as if fully

restated here.

      147.   In the manner described above, Defendants, acting as investigators,

individually, jointly, and in conspiracy with one another, as well as under color of

law and within the scope of their employment, accused Plaintiff of criminal activity


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and exerted influence to initiate, continue, and perpetuate judicial proceedings

against Plaintiff without any probable cause for doing so and in spite of the fact that

they knew Plaintiff was innocent.

      148.   In doing so, Defendants caused Plaintiff to be unreasonably seized

without probable cause and deprived of his liberty, in violation of Plaintiff’s rights

secured by the Fourth and Fourteenth Amendments.

      149.   The false judicial proceedings against Plaintiff were instituted and

continued maliciously, resulting in injury.

      150.   Defendants deprived Plaintiff of fair state criminal proceedings,

including the chance to defend himself during those proceedings, resulting in a

deprivation of his liberty, and Massachusetts law does not provide an adequate

state-law tort remedy to redress that harm.

      151.   In addition, Defendants subjected Plaintiff to arbitrary governmental

action that shocks the conscience in that Plaintiff was deliberately and intentionally

framed for a possible crime of which he was totally innocent, through Defendants’

fabrication and suppression of evidence and their use of unduly suggestive

identification procedures.

      152.   The misconduct described in this Count was objectively unreasonable

and was undertaken intentionally, with malice, with reckless indifference to the

rights of others, and in total disregard of the truth and Plaintiff’s clear innocence.

      153.   As a result of Defendants’ misconduct described in this Count, Plaintiff

suffered loss of liberty, great mental anguish, humiliation, degradation, physical



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and emotional pain and suffering, and other grievous and continuing injuries and

damages as set forth above.

      154.   On September 8, 2017, the judicial proceedings against Plaintiff were

terminated in his favor, in a manner indicative of his innocence.

      155.    Defendants’ misconduct described in this Count was undertaken

pursuant to the policies, practices, and customs of Defendant City of Lowell, and by

Defendants who were final policymakers for Defendant City of Lowell, in the

manner more fully described above.

                                   COUNT III
                42 U.S.C. § 1983: Coerced and False Confession
           (Fifth Amendment through the Fourteenth Amendment)

      156.   Plaintiff incorporates each paragraph of this Complaint as if fully

restated here.

      157.    In the manner described more fully above, Defendants, individually,

jointly, and/or in conspiracy with one another, as well as under color of law and

within the scope of their employment, forced Plaintiff to incriminate himself

involuntarily, falsely, and against his will, in violation of his rights secured by the

Fifth and Fourteenth Amendments.

      158.   As described more fully above, Defendants participated in, encouraged,

and ordered an unconstitutional interrogation of Plaintiff, which caused Plaintiff to

make involuntary statements implicating himself in committing arson and the

deaths of eight people.




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      159.   The false statements written by the Defendants and attributed to

Plaintiff were used against Plaintiff to his detriment throughout his criminal case.

These statements were the reason that Plaintiff was prosecuted and convicted of the

arson and murders.

      160.   The misconduct described in this Count was objectively unreasonable

and was undertaken intentionally.

      161.   As a result of Defendants’ misconduct described in this Count, Plaintiff

suffered loss of liberty, great mental anguish, humiliation, degradation, physical

and emotional pain and suffering, and other grievous and continuing injuries and

damages as set forth above.

                                    COUNT IV
                      42 U.S.C. § 1983: Coerced Confession
                           (Fourteenth Amendment)

      162.   Plaintiff incorporates each paragraph of this Complaint as if fully

restated here.

      163.   In the manner described more fully above, Defendants, individually,

jointly, and in conspiracy with one another, as well as under color of law and within

the scope of their employment, forced Plaintiff to incriminate himself falsely and

against his will in a crime he had not committed, in violation of his right to due

process secured by the Fourteenth Amendment.

      164.   As described in detail above, the misconduct described in this Count

was done using psychological and physical coercion. This misconduct was so severe

as to shock the conscience, it was designed to injure Plaintiff, and it was not



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supported by any conceivable governmental interest.

      165.     The misconduct described in this Count was objectively unreasonable,

and was undertaken and effected intentionally.

      166.    As a result of Defendants’ misconduct described in this Count, Plaintiff

suffered loss of liberty, great mental anguish, humiliation, degradation, physical

and emotional pain and suffering, and other grievous and continuing injuries and

damages as set forth above.

                                     COUNT V
          42 U.S.C. § 1983 – Conspiracy to Deprive Constitutional Rights

      167.    Plaintiff incorporates each paragraph of this Complaint as if fully

restated here.

      168.    After the Decatur Street fire, Defendants, acting in concert with other

co-conspirators, known and unknown, reached an agreement among themselves to

frame Plaintiff for murdering the eight victims of the fire, a crime he did not

commit, and thereby to deprive him of his constitutional rights, all as described in

the various paragraphs of this Complaint.

      169.    In so doing, these co-conspirators conspired to accomplish an unlawful

purpose by an unlawful means. In addition, these co-conspirators agreed among

themselves to protect one another from liability for depriving Plaintiff of these

rights.

      170.    In furtherance of their conspiracy, each of these co-conspirators

committed overt acts and were otherwise willful participants in joint activity.

      171.    The misconduct described in this Count was objectively unreasonable


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and was undertaken intentionally, with malice, with reckless indifference to the

rights of others, and in total disregard of the truth and Plaintiff’s clear innocence.

      172.   As a result of Defendants’ misconduct described in this Count, Plaintiff

suffered loss of liberty, great mental anguish, humiliation, degradation, physical

and emotional pain and suffering, and other grievous and continuing injuries and

damages as set forth above.

      173.   Defendants’ misconduct described in this Count was undertaken

pursuant to the policies, practices, and customs of Defendant City of Lowell, and by

Defendants who were final policymakers for Defendant City of Lowell, in the

manner more fully described above.

                                      COUNT VI
                        42 U.S.C. § 1983 – Failure to Intervene

      174.   Plaintiff incorporates each paragraph of this Complaint as if fully

restated here.

      175.   In the manner described above, during the constitutional violations

described herein, one or more Defendants stood by without intervening to prevent

the violation of Plaintiff’s constitutional rights, even though they had the

opportunity to do so.

      176.   As a result of Defendants’ failure to intervene to prevent the violation

of Plaintiff’s constitutional rights, Plaintiff suffered pain and injury, as well as

emotional distress and permanent physical damage. These Defendants had ample,

reasonable opportunities to prevent this harm but failed to do so.




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      177.   The misconduct described in this Count was objectively unreasonable

and was undertaken intentionally, with malice, reckless indifference to the rights of

others, and in total disregard of the truth and Plaintiff’s clear innocence.

      178.   As a result of Defendants’ misconduct described in this Count, Plaintiff

suffered loss of liberty, great mental anguish, humiliation, degradation, physical

and emotional pain and suffering, and other grievous and continuing injuries and

damages as set forth above.

      179.   Defendants’ misconduct described in this Count was undertaken

pursuant to the policies, practices, and customs of Defendant City of Lowell, and by

Defendants who were final policymakers for Defendant City of Lowell, in the

manner more fully described above.

                                  COUNT VII
                    State-Law Claim – Malicious Prosecution

      180.   Plaintiff incorporates each paragraph of this Complaint as if fully

restated here.

      181.   In the manner described above, Defendants, acting as investigators,

individually, jointly, or in conspiracy with one another, as well as within the scope

of their employment, accused Plaintiff of criminal activity and exerted influence to

initiate and to continue and perpetuate judicial proceedings against Plaintiff

without any probable cause for doing so and in spite of the fact that they knew

Plaintiff was innocent.

      182.   In so doing, these Defendants caused Plaintiff to be subjected

improperly to judicial proceedings for which there was no probable cause. These


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judicial proceedings were instituted and continued maliciously, resulting in injury.

       183.    The misconduct described in this Count was objectively unreasonable

and was undertaken intentionally, with malice, with reckless indifference to the

rights of others, and in total disregard of the truth and Plaintiff’s clear innocence.

       184.    As a result of Defendants’ misconduct described in this Count, Plaintiff

suffered loss of liberty, great mental anguish, humiliation, degradation, physical

and emotional pain and suffering, and other grievous and continuing injuries and

damages as set forth above.

       185.    On September 8, 2017, the judicial proceedings against Plaintiff were

terminated in his favor. 1

                                      COUNT VIII
                              State-Law Claim – Negligence

       186.    Plaintiff incorporates each paragraph of this Complaint as if fully

restated here.

       187.    Defendants owed Plaintiff a duty to refrain from framing him for a

crime he had not committed and to conduct a legal and thorough investigation of

the Decatur Street fire that resulted in the accurate identification, arrest, and

prosecution of criminal suspects (if it were determined that a crime was committed).

       188.    In the manner described more fully above, the actions, omissions, and

conduct of Defendants breached this duty.




       1 Plaintiff presented his state-law claims included in this Complaint to Defendants, as
required by Massachusetts law, on _____________. In the absence of action from Defendants, six
months from that date, Plaintiff state-law claims will be ripe for adjudication.


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      189.   The misconduct described in this Count was objectively unreasonable

and was undertaken in total disregard of the truth and Plaintiff’s clear innocence.

      190.   As a result of Defendants’ misconduct described in this Count, Plaintiff

suffered loss of liberty, great mental anguish, humiliation, degradation, physical

and emotional pain and suffering, and other grievous and continuing injuries and

damages as set forth above.

                                COUNT IX
       State-Law Claim – Intentional Infliction of Emotional Distress

      191.   Plaintiff incorporates each paragraph of this Complaint as if fully

restated here.

      192.   The actions, omissions, and conduct of Defendants as set forth above

were extreme and outrageous. These actions were rooted in an abuse of power and

authority and were undertaken with the intent to cause, or were in reckless

disregard of the probability that their conduct would cause, severe emotional

distress to Plaintiff, as is more fully alleged above.

      193.   As a direct and proximate result of Defendants’ actions, Plaintiff

suffered and continues to suffer physical injury, emotional distress, and other

grievous and continuing injuries and damages as set forth above.

                                COUNT X
        State-Law Claim – Negligent Infliction of Emotional Distress

      194.   Plaintiff incorporates each paragraph of this Complaint as if fully

restated here.

      195.   Pleading in the alternative, Defendants owed Plaintiff a duty to refrain



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from framing him for a crime he had not committed and to conduct a legal and

thorough investigation of the Decatur Street fire that resulted in the accurate

identification, arrest, and prosecution of criminal suspects (if a crime had occurred).

      196.   In the manner described more fully above, the actions, omissions, and

conduct of Defendants breached this duty.

      197.   The misconduct described in this Count was objectively unreasonable.

It was reasonably foreseeable that Defendant’s actions would cause any reasonable

person, including Plaintiff, emotional distress.

      198.   As a direct and proximate result of Defendants’ actions, Plaintiff

suffered and continues to suffer physical injury, emotional distress, and other

grievous and continuing injuries and damages as set forth above. His distress is

manifested in symptoms such as insomnia, deep depression, and anxiety.

                                   COUNT XI
                 State-Law Claim – Mass. Gen. Laws, Ch. 12, § 11I

      199.   Plaintiff incorporates each paragraph of this Complaint as if fully

restated here.

      200.   Defendants interfered with Plaintiff’s exercise and enjoyment of rights

guaranteed to him by the U.S. Constitution and the constitution and laws of the

Commonwealth of Massachusetts by fabricating evidence and coercing witnesses

into fabricating false identifications against Plaintiff.

      201.   Defendants’ misconduct deprived Plaintiff of his rights under federal

and state law by use of threats, intimidation, and coercion, thereby violating the

Massachusetts Civil Rights Act.


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                                  COUNT XII
                       State-Law Claim – Civil Conspiracy

      202.   Plaintiff incorporates each paragraph of this Complaint as if fully

restated here.

      203.   As described more fully in the preceding paragraphs, Defendants,

acting in concert with other co-conspirators, known and unknown, reached an

agreement among themselves to frame Plaintiff for a crime he did not commit and

conspired by concerted action to accomplish an unlawful purpose by an unlawful

means. In addition, these co-conspirators agreed among themselves to protect one

another from liability for depriving Plaintiff of these rights.

      204.   In furtherance of their conspiracy, each of these co-conspirators

committed overt acts and were otherwise willful participants in joint activity.

      205.   The misconduct described in this Count was objectively unreasonable

and was undertaken intentionally, with malice, with reckless indifference to the

rights of others, and in total disregard of the truth and Plaintiff’s clear innocence.

      206.   As a result of Defendants’ misconduct described in this Count, Plaintiff

suffered loss of liberty, great mental anguish, humiliation, degradation, physical

and emotional pain and suffering, and other grievous and continuing injuries and

damages as set forth above.

                                 COUNT XIII
                    State-Law Claim – Respondeat Superior

      207.   Plaintiff incorporates each paragraph of this Complaint as if fully

restated here.



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       208.   While committing the misconduct alleged in the preceding paragraphs,

Defendants were employees, members, and agents of the City of Lowell, acting at all

relevant times within the scope of their employment.

       209.   Defendant City of Lowell is liable as principal for all torts committed

by its agents.

                                  COUNT XIV
                       State-Law Claim – Indemnification

       210.   Plaintiff incorporates each paragraph of this Complaint as if fully

restated here.

       211.   Massachusetts law provides that public entities are to pay tort

judgments for which employees are liable within the scope of their employment

activities.

       212.   Defendants were employees, members, and agents of the City of

Lowell, acting at all relevant times within the scope of their employment in

committing the misconduct described herein.

       WHEREFORE, Plaintiff, VICTOR ROSARIO, respectfully requests that this

Court enter a judgment in his favor and against Defendants Lowell Police Officers

HAROLD G. WATERHOUSE, JOHN GIUILFOYLE, GARRETT SHEEHAN, JOHN

R. NEWELL, GEORGE H. GENTLE, JOSEPH M. McGARRY, LARRY B.

McGLASSON, WILFRED DOW, JOHN R. MYERS, and UNKNOWN OFFICERS

OF THE LOWELL POLICE DEPARTMENT; WILLIAM M. GILLIGAN;

Massachusetts State Police Officer DAVID A. COONAN and UNKNOWN

OFFICERS OF THE MASSACHUSETTS STATE POLICE, and the CITY OF


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LOWELL, Massachusetts, awarding compensatory damages, attorneys’ fees and

costs against each Defendant, punitive damages against each of the Defendants,

and any other relief this Court deems just and appropriate.


                                  JURY DEMAND

      Plaintiff, VICTOR ROSARIO, hereby demands a trial by jury pursuant to

Federal Rule of Civil Procedure 38(b) on all issues so triable.



                                               RESPECTFULLY SUBMITTED,

                                               VICTOR ROSARIO

                                               BY:    /s/ Debra Loevy
                                                      One of Plaintiff’s Attorneys
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